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                               Exhibit 29



United States of America ex rel. Ven-a-Care of the Florida Keys, Inc v. Abbott Laboratories,
                  Inc.; Dey, Inc., et al.; Boehringer Ingelheim Corp., et al.;
                               Civil Action No. 01-12257-PBS


        Exhibit to the September 22, 2009, Declaration of George B. Henderson, II
       In Support of Plaintiff’s Response to Defendants’ Combined Local Rule 56.1
      Statement of Additional Material Facts Pertinent to the United States’ Motions
                     for Partial Summary Judgment Against Defendants
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                                 Washington, DC

                                                                                Page 1
                   UNITED STATES DISTRICT COURT

                FOR THE DISTRICT OF MASSACHUSETTS

    - - - - - - - - - - - - - - -

    IN RE:    PHARMACEUTICAL       ) MDL NO. 1456

    INDUSTRY AVERAGE WHOLESALE     ) CIVIL ACTION

    PRICE LITIGATION               ) 01-CV-12257-PBS

    THIS DOCUMENT RELATES TO       )

    U.S. ex rel. Ven-a-Care of     ) Judge Patti B. Saris

    the Florida Keys, Inc.         )

         v.                        ) Chief Magistrate

    Abbott Laboratories, Inc.,     ) Judge Marianne B.

    No. 06-CV-11337-PBS            ) Bowler

    - - - - - - - - - - - - - - -

             (caption continues on following pages)




          Videotaped deposition of DENNIS G. SMITH

                            Volume I



                            Washington, D.C.

                            Tuesday, February 26, 2008

                            9:00 a.m.




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                                                                               Page 2
  1
           IN THE COURT OF THE SECOND JUDICIAL CIRCUIT
  2
                      IN AND FOR LEON COUNTY, FLORIDA
  3
      THE STATE OF FLORIDA
  4
      ex rel.
  5
      - - - - - - - - - - - - - - - - - -
  6
      VEN-A-CARE OF THE FLORIDA KEYS,                       )
  7
      INC., a Florida Corporation, by and )
  8
      through its principal officers and                    )
  9
      directors, ZACHARY T. BENTLEY and                     )
10
      T. MARK JONES,                                        )
11
                        Plaintiffs,                         ) Civil Action
12
               vs.                                          ) No. 98-3032G
13
      MYLAN LABORATORIES INC.; MYLAN                        )
14
      PHARMACEUTICALS INC.; NOVOPHARM                       ) Judge William
15
      LTD., SCHEIN PHARMACEUTICAL, INC.;                    ) L. Gary
16
      TEVA PHARMACEUTICAL INDUSTRIES                        )
17
      LTD.; TEVA PHARMACEUTICAL USA; and                    )
18
      WATSON PHARMACEUTICALS, INC.,                         )
19
                        DEFENDANTS.                         )
20
      - - - - - - - - - - - - - - - - - -
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                                            Page 134                                                  Page 136
 1   would ask a state -- if sort of outside those      1    were doing in reviewing state plan amendments?
 2   parameters you saw a big disparity amongst the     2           MR. WINGET-HERNANDEZ: Objection, form.
 3   states you would say, well, how did you get that,  3           MS. MARTINEZ: Objection, form.
 4   where did you get that from.                       4       A. Every piece of a regulation is there
 5          So in general if they met the               5    for a purpose and they all fit together.
 6   requirements of the regulation then it would go    6       Q. But the standards that you felt
 7   into effect.                                       7    governed the approval of state plans extended
 8       Q. But you're getting ahead of me a little     8    beyond merely the definition in section 447.301
 9   bit. My question to you is what you understand -   9    and the language in 447.331 and extended to the
10   - and since 2001 have understood -- the           10    other goals and purposes of the Medicaid program,
11   regulatory requirements to be. And we'll get to   11    correct?
12   the policy decisions that affect how that's       12           MR. WINGET-HERNANDEZ: Objection, form.
13   implemented in a moment.                          13       A. I'm not following you.
14          MR. WINGET-HERNANDEZ: Objection, form. 14           Q. Sure. You would agree with me that one
15       Q. And I'll ask that as a more clear          15    could read the language in section 447.301 and
16   question. Could you describe to me what you       16    447.331 to allow for the approval of a state plan
17   understood those regulatory requirements to be?   17    amendment only if it with precision, as much as
18          MR. WINGET-HERNANDEZ: Objection, form. 18        possible, estimated the invoice price of the
19       A. The regulatory requirements are for a      19    drugs to the pharmacy? That would be one
20   state to pay its reimbursement for prescription   20    interpretation of this language, correct?
21   drugs to meet the entirety of the regulations     21           MR. WINGET-HERNANDEZ: Objection to
22   that include that they are based on the agency's  22    form.
                                            Page 135                                                  Page 137
 1   best estimate of the acquisition cost and a         1          MR. KELLEY: Objection to form.
 2   reasonable dispensing fee.                          2       A. The regulation itself doesn't say
 3       Q. And so I understand --                       3   invoice price, I don't think. So, I mean, you're
 4       A. And if we believe them not to meet           4   asking me to read things into the regulation
 5   those then it would be -- well, a state, if it      5   where the words aren't there.
 6   didn't meet those requirements or fit within        6       Q. Did you understand this regulation to
 7   those parameters, we would have -- we would         7   require you to approve a state plan only if the
 8   question the state further. And again, as the       8   formula proposed by the state would pay as the
 9   October 2002 memo states, we would look at the      9   ingredient cost an amount that approximated the
10   individual circumstances in the state as well as   10   invoice price for drugs to pharmacies?
11   its supporting documents.                          11          MS. MARTINEZ: Objection, form.
12          So the documentation of how do you meet     12       A. I'm going back to my previous answer.
13   the regulations, they fit together. You can't      13   You are -- you have to look at it in the
14   just pull one piece out and say that represents    14   entirety. You can't just pick one piece of it
15   the entirety. That would be not accurate.          15   out and say would you approve or disapprove on
16       Q. And so if one were -- let me back up        16   that alone. You have to look at the entirety.
17   just a little bit. I apologize. Tell me if I'm     17       Q. I actually intended that to be a
18   correct in hearing what you're telling me. Is it   18   softball question.
19   that looking simply at the definition of           19       A. Okay.
20   estimated acquisition cost without taking into     20       Q. Is it fair to say that you did not see
21   account all of the goals of the Medicaid program   21   this regulation as requiring you -- or requiring
22   would provide an incomplete picture in what you    22   states, rather -- to establish a formula that set
                                                                              35 (Pages 134 to 137)
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                                                               55 (Pages 214 to 217)
                                                  214                                                      216
 1   Reduction Act of 2005 the federal upper limit is     1   empirical average of real prices?
 2   higher than the average acquisition cost for         2         MS. MARTINEZ: Objection to form.
 3   providers assuming AMP is an accurate reflection     3       A. They are still supposed to be based on
 4   of acquisition cost, correct?                        4   what manufacturers are reporting.
 5       A. 250 percent of the lower. Again,              5       Q. On what do you base that statement?
 6   because they're -- whether or not the absolute       6       A. The manufacturers -- as I understand
 7   lowest is available to all pharmacists across the    7   it, what the wholesaler and what the retailer, as
 8   country is why it was pegged at two and a half       8   reported to the compendium, are still going to be
 9   times that amount. Not everyone can get the          9   based off of something that the manufacturer had
10   lowest price.                                       10   made available his product. I don't think --
11       Q. But the amount is two and a half times       11       Q. My question to you is on what do you
12   greater than the average of the lowest price's      12   base that?
13   generic, correct?                                   13       A. On markets, on how things work.
14       A. In the aggregate of all the drugs that       14   Manufacturers, I think would -- again, knowing
15   are on the federal upper limit, which, to be on     15   that you have competitors out there, I think
16   the FULs, you have to have more than -- you have    16   would want to report accurately in terms of -- if
17   to have a generic. You have to have at least two    17   you have a lower price or if you're offering
18   of that drug. And then all of those -- again,       18   discounts, you want people to know that. So
19   this is a limit in the aggregate on federal         19   otherwise how would they know to choose your
20   reimbursement for all of the drugs combined, not    20   product.
21   an individual -- not an individually priced drug.   21       Q. Mr. Smith, your testimony was "That
22       Q. You would agree with me that AMP and         22   AWPs are supposed to be based on what
                                                  215                                                      217
 1   average wholesale prices are two very different      1   manufacturers are reporting." Right?
 2   concepts, correct?                                   2      A. Give a few more words to that.
 3       A. They are two different units of               3      Q. All right. "They are still supposed to
 4   measurement. Yes.                                    4   be based on what manufacturers are reporting."
 5       Q. The AMP is what I think you refer to as       5   That was your testimony, correct?
 6   a real price, correct? That is, an empirical         6         MR. WINGET-HERNANDEZ: Objection, form.
 7   average of prices in the marketplace, correct?       7      A. I recognize AMPs and AWPs are different
 8       A. Well, it is what the manufacturer is          8   units of measurement, that AWPs are off of the
 9   reporting. And again, an average of what they        9   compendiums and there is a middle person between
10   are reporting. Again, these snapshots I think       10   the manufacturer and the wholesaler and what is
11   are -- now it's a combination of both. On the       11   being reported. But I think in general the
12   rebate side AMPs have been used on the rebate       12   information on sort of the other side is --
13   side, which had to be reported quarterly by the     13   reflects reality in the market or -- and again,
14   manufacturer. Now -- I leave myself open to         14   there are lots of experts who can testify much
15   correcting. But now they're monthly and             15   greater than I can about how manufacturers price
16   quarterly. But they're still averages of what       16   their products and how manufacturers -- how they
17   should be a real -- I mean, it's the price that     17   want to enter a market, et cetera.
18   the manufacturer is now reporting, not through a    18         There are -- I've never worked for a
19   third party of having been handled through          19   manufacturer, so I don't know how they do their
20   wholesalers as reported through the compendiums.    20   pricing, what business decisions that they make
21       Q. And it's your understanding that             21   on how they are entering a particular market they
22   average wholesale prices by contrast are not an     22   weren't in before, how they deal with authorized


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